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 6                            IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,

 9                  Respondent,                           No. CR S-07-0571 GEB EFB

10          vs.

11   ARMANDO SANCHEZ,

12                  Movant.                               ORDER

13                                        /

14          Movant, a federal prisoner proceeding without counsel, has filed a motion to vacate, set

15   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Since movant may be entitled to the

16   requested relief, respondent is directed to file an answer, motion or other response within thirty

17   days of the effective date of this order. See Rule 4(b), Rules Governing Section 2255

18   Proceedings. Respondent shall include with an answer any and all transcripts or other

19   documents relevant to the determination of the issues presented in the motion. Rule 5, Rules

20   Governing Section 2255 Proceedings. Movant’s reply, if any, is due on or before thirty days

21   from the date respondent’s answer is filed. Id.

22          The Clerk of the Court shall serve a copy of this order, together with a copy of movant’s

23   November 4, 2010 motion on the United States Attorney or his authorized representative.

24          So ordered.

25   Dated: November 19, 2010.

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